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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 L.M.-M., et al.,

        Plaintiffs,
                                                        Civil Action No. 1:19-cv-02676
        v.                                              (RDM)

 Kenneth T. Cuccinelli II, et al.,

        Defendants.


                              SECOND JOINT STATUS REPORT

       The parties hereby jointly provide a status report on their efforts to settle Plaintiffs’

motion for attorneys’ fees under the Equal Access to Justice Act, 28 U.S.C. § 2412(d)(1)(A)

(“EAJA”). See Dkt. 51.

       Plaintiffs filed their motion for attorneys’ fees on Thursday, September 24, 2020. The

Court previously granted Defendants’ consent motion for an extension of time to respond to

Plaintiffs’ motion. See Dkt. 48. The Court then granted the parties’ joint motion for a stay of the

briefing deadline. See Dkt. 51.

       The parties have made substantial progress in working toward a resolution of Plaintiffs’

motion for attorney fees without the need for motion practice and judicial resolution. The parties

anticipate that further discussions may continue to be productive, and that additional time would

be helpful to those discussions. Thus, the parties will move jointly to extend the stay to permit

the parties to continue those discussions.




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Dated: February 22, 2021                      Respectfully submitted,

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